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 AO 450 (Rev. 01/09)   Judgment in a Civil Action



                           UNITED STATES DISTRICT COURT
                                                       for the
                                            Northern District of Indiana

MICHAEL PAUL MATUSZCZAK

        Plaintiff(s)
                v.                                                  Civil Action No. 2:16-CV-183

MIRAMED REVENUE GROUP LLC

        Defendant(s)

                                     JUDGMENT IN A CIVIL ACTION

The court has ordered that (check one):

☐ the Plaintiff(s),                                                               recover from the
Defendant(s)                                                                           damages in the
amount of                                             , plus post-judgment interest at the rate of    %

☐ the plaintiff recover nothing, the action is dismissed on the merits, and the defendant
recover costs from the plaintiff                                              .

X Other:       JUDGMENT is entered in favor of Defendant Miramed Revenue Group LLC and
against Plaintiff Michael Paul Matuszczak on all counts.

This action was (check one):

☐ tried to a jury with Judge
presiding, and the jury has rendered a verdict.

☐ tried by Judge
without a jury and the above decision was reached.

X decided by Judge Philip P. Simon on a Motion for Summary Judgment
DATE: 11/14/2017                                            ROBERT TRGOVICH, CLERK OF COURT
                                                             by  /s/Jason Schrader
                                                                 Signature of Clerk or Deputy Clerk
